             Case 1:20-cv-00523-LJL Document 8 Filed 10/16/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               10/16/2020
                                                                       :
DEVON MIGUEL RIVERA,                                                   :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      20-cv-0523 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
REGAL ENTERTAINMENT GROUP,                                             :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

       The Court held a conference on this matter today, October 16, 2020. Plaintiff appeared,
but no one appeared for Defendant. The Court had previously entered a service order directing
the United States Marshals Service to serve the complaint on Defendant; service has not taken
place. Plaintiff informed the Court that he was not aware that Defendant had not been served.
The Court directed Plaintiff to make a motion to extend the time for service.

        The Clerk of Court is respectfully requested to mail a copy of this order to Plaintiff.

        SO ORDERED.


Dated: October 16, 2020                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
